 

Case: 1:18-Cv-O7357 Document #: 27 Filed: 01/28/19 Page 1 of 1 Page|D #:76

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No. 18 CV 07357

PROOF OF SERVlCE
(This section shouldr not befi!ed with the court unless required by Fed. R. Civ. P. 4 (l))

ThiS SummOl'lS for (mzme of individual and title, zfany) MlCHAEL MCDERMOTT

was received by me on (daze) 01115/2019

d I personally served the summons on the individual at gained 7347 LAGLJNA LANE, ORLAND PARK
IL. 60462

onrda:e) _ __01/15/2019 W;or

lJ l left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (dare) , and mailed a copy to the individual’s last known address; or

EI I served the summons on (name ofindiv:'dual) , who is

designated by law to accept service of process on behalf of (name oforgam'zoa'on)

_ _ 7 011 (dare) ; or

Cl l returned the summons unexecuted because ; or
g OLh€r (specijfi)):

My fees are $ for travel and $ for services, for a total of $ _, 0_00

l declare under penalty of perjury that this information is true.

 

Dace: j 01;15,'2019j j

Server’s signature

LARBY B_lE|___P_\_/_§PEC!AL PROCE_S_S S§R\ER_ __ _

Primed name and title

P O BOX 46335
CH!CAGO, IL. 60646
lLL|NO|S L|CENSE 115-001755

Server ’s address

Additional information regarding attempted service, etc:

